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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------x
In re:                                                :   Chapter 11
                                                      :
Clark’s Botanicals, Inc.,                             :   Case No. 18-14109 (MEW)
                                                      :
                                Debtor.               :
------------------------------------------------------x
In re:                                                :   Chapter 11
                                                      :
Glansaol Holdings Inc.,                               :   Case No. 18-14102 (MEW)
                                                      :
                                Debtor.               :
------------------------------------------------------x
In re:                                                :   Chapter 11
                                                      :
Glansaol LLC,                                         :   Case No. 18-14103 (MEW)
                                                      :
                                Debtor.               :
------------------------------------------------------x
In re:                                                :   Chapter 11
                                                      :
Glansaol Management LLC,                              :   Case No. 18-14104 (MEW)
                                                      :
                                Debtor.               :
------------------------------------------------------x
In re:                                                :   Chapter 11
                                                      :
Julep Beauty, Inc.,                                   :   Case No. 18-14105 (MEW)
                                                      :
                                Debtor.               :
------------------------------------------------------x
In re:                                                :   Chapter 11
                                                      :
Laura Geller Beauty, LLC,                             :   Case No. 18-14106 (MEW)
                                                      :
                                Debtor.               :
------------------------------------------------------x
In re:                                                :   Chapter 11
                                                      :
Laura Geller Brands, LLC,                             :   Case No. 18-14107 (MEW)
                                                      :
                                Debtor.               :
------------------------------------------------------x
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------------------------------------------------------x
In re:                                                :         Chapter 11
                                                      :
Laura Geller Holdings, LLC,                           :         Case No. 18-14108 (MEW)
                                                      :
                                Debtor.               :
------------------------------------------------------x

                             ORDER DIRECTING JOINT
                   ADMINISTRATION OF RELATED CHAPTER 11 CASES

                 Upon the motion (the “Motion”)1 of the debtors and debtors in possession in the

above-captioned cases (collectively, the “Debtors”) for entry of an order, pursuant to Rule

1015(b) of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), authorizing

the joint administration of the Debtors’ chapter 11 cases; and upon consideration of the Motion

and all of the pleadings related thereto, including the Declaration of Nancy Bernardini in Support

of Chapter 11 Petitions and First Day Pleadings; and this Court having jurisdiction to consider

the Motion pursuant to 28 U.S.C. §§ 157 and 1334; and this being a core proceeding pursuant to

28 U.S.C. § 157(b); and venue of these cases and the Motion in this district being proper

pursuant to 28 U.S.C. §§ 1408 and 1409; and upon the record of the hearing held on the Motion;

and due and sufficient notice of the Motion having been given; and it appearing that no other or

further notice need be provided; and it appearing that the relief requested by the Motion is in the

best interests of the Debtors’ estates, their creditors and other parties in interest; and after due

deliberation and sufficient cause appearing therefor, it is hereby

                 ORDERED that:

                 1.       The Motion is granted to the extent set forth herein.

                 2.       The above-captioned cases are consolidated for procedural purposes only



1
        Capitalized terms used but not defined herein shall have the meanings given to such terms in the Motion.


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and shall be administered jointly under Case No. 18-14102 (MEW) in accordance with

Bankruptcy Rule 1015(b).

                  3.        The joint caption of the Debtors’ cases shall read as follows:

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------x
In re:                                                 :            Chapter 11
                                                       :
Glansaol Holdings Inc., et al.,1                       :            Case No. 18-14102 (MEW)
                                                       :
                           Debtors.                    :            (Jointly Administered)
-------------------------------------------------------x
1       The Debtors in these chapter 11 cases and the last four digits of each Debtor’s federal taxpayer identification number
        are as follows: Clark’s Botanicals, Inc. (0754); Glansaol Holdings Inc. (9485); Glansaol LLC (2012); Glansaol
        Management LLC (6879); Julep Beauty, Inc. (7984); Laura Geller Beauty, LLC (1706); Laura Geller Brands, LLC
        (7428); and Laura Geller Holdings, LLC (7388). The Debtors’ executive headquarters are located at 575 Lexington
        Avenue, New York, NY 10022.

                  4.        The caption of the jointly administered cases shall read as indicated in the

preceding decretal paragraph, and all original docket entries shall be made in the case of

Glansaol Holdings Inc., Case No. 18-14102 (MEW).

                  5.        A docket entry shall be made in the other Debtors’ chapter 11 cases

substantially as follows:

                  “An order has been entered in this case directing the procedural
                  consolidation and joint administration of the chapter 11 cases of
                  Glansaol Holdings Inc. and its affiliates that have concurrently
                  commenced chapter 11 cases. The docket in the chapter 11 case of
                  Glansaol Holdings Inc., Case No. 18-14102 (MEW), should be
                  consulted for all matters affecting this case.”

                  6.        The Debtors may file a single monthly operating report as required by the

Operating Guidelines and Reporting Requirements for Debtors in Possession and Trustees,

issued by the Executive Office of United States Trustees (rev. 11/27/13) for the jointly

administered Debtors. However, the monthly operating report shall be filed on a consolidating

(not consolidated) basis. The report shall contain on a consolidating basis the information

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required for each debtor that tracks and breaks out all of the specific information, e.g. receipts,

disbursements, profit and loss statements, balance sheets and other required information on a

debtor-by-debtor basis.

               7.      This Court shall retain jurisdiction with respect to any and all matters

arising from or relating to the implementation, interpretation and/or enforcement of this Order.



  Dated: December 20, 2018
         New York, New York
                                               /s/ Michael E. Wiles
                                               THE HONORABLE MICHAEL E. WILES
                                               UNITED STATES BANKRUPTCY JUDGE




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